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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: ABBOTT LABORATORIES, ET                       MDL NO. 3026
AL., PRETERM INFANT NUTRITION
PRODUCTS LIABILITY LITIGATION                        Master Docket No. 1:22-cv-00071


This Document Relates to:                            Hon. Rebecca R. Pallmeyer

ALL ACTIONS



             DEFENDANTS’ MOTION FOR SCIENTIFIC PRESENTATIONS
                              TO THE COURT

       Defendants Abbott Laboratories and Abbott Laboratories, Inc. (collectively “Abbott”), and

Mead Johnson, LLC and Mead Johnson Nutrition Company (collectively “Mead”), respectfully

request that the Court schedule a “Science Day,” in or about December 2022, during which the

parties may make non-adversarial scientific presentations to assist the Court with overall case

management and further the efficient progression of this litigation.

       Science Days are frequently used in multi-district product liability proceedings such as this

to provide the court with necessary medical and scientific background information to resolve issues

that will arise in the case. See Federal Judicial Center, Tutorials on Science and Technology (“FJC

Tutorials”) 1 (2018); see also American Bar Association, Civil Trial Practice Standard, Section 7:

Use of Tutorials to Assist the Court 12 (2007) (recommending that courts “permit or require the

use of tutorials to educate the court,” in order “to provide the court with background information

to assist the court in understanding the technology of other complex subject matter involved in the

case”). “Some transferee judges reported finding [early science tutorials] more instructive than

Daubert hearings.” Bolch Judicial Institute, Guidelines and Best Practices for Large and Mass-Tort

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MDLs (Second Edition) (2018). To promote this educational function, and to distinguish the

procedure from hearings and motions practice that comes later in the case, Science Days are

generally non-adversarial (meaning no cross-examination or argument on the merits of the legal

issues) and are conducted “off the record.” FJC Tutorials at 11-12.

       Judges presiding over complex litigation routinely use Science Days as a way for the court

to learn about specific technical or scientific aspects of the litigation. See FJC Tutorials at 1. For

example, courts ordered Science Days in the following product liability MDLs, among many

others: In re: Mirena IUS Levonorgestrel-Related Products Liability Litig. (No. 2), MDL No. 2767

(Dkt. 11); In re: Incretin Mimetics Products Liability Litig., MDL No. 2452 (Dkt. 200); In re:

Philips Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Products Litig., MDL No. 3014

(Dkt. 683). Science Days are often held at an early stage of the proceedings, to assist with case

management and discovery. See FJC Tutorials at 3-4.

       In Mirena, the court explained that it “will hold ‘Science Day’ to provide the Court with

an overview of the medical, scientific, and epidemiological issues associated with the Mirena®

intrauterine device and intracranial hypertension in an objective format without advocacy.” In re:

Mirena IUS Levonorgestrel-Related Products Liability Litig. (No. 2), MDL No. 2767 (Dkt. 11). In

Incretin, the court explained that “[t]he purpose of Science Day is to apprise the Court, in a

non-adversarial manner, of the following issues: (a) the nature of Type 2 diabetes;

(b) pharmacological issues, i.e. the role of the Incretin-based therapies in treating Type 2 Diabetes;

(c) pancreatic cancer and associated mortality and morbidity rates; and (d) data regarding the

effects of the Incretin-based therapies on the pancreas.” In re: Incretin Mimetics Products Liability

Litig., MDL No. 2452 (Dkt. 200). And in CPAP, the court noted that “the goal of Science Day is

to educate the undersigned about how the devices at issue in these MDLs work and the scientific

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theories underlying the MDLs.” In re: Philips Recalled CPAP, Bi-Level PAP, and Mechanical

Ventilator Products Litig., MDL No. 3014 (Dkt. 683). This Court similarly allowed the parties to

make scientific presentations to the Court in the In re Zimmer MDL. See In re: Zimmer Nexgen

Knee Implant Products Liability Litig., MDL No. 2272 (Dkt. 213).

       Defendants respectfully submit that a Science Day would serve a similarly valuable

purpose in this MDL by providing this Court with helpful background regarding the underlying

medical and scientific issues presented by the parties’ claims and defenses. As discussed in

defendants’ Position Statement and plaintiffs’ Complaints, these cases involve complex

epidemiological and medical issues related to the special nutritional needs of, and medical

challenges faced by, premature and low birthweight infants; the design of preterm infant formulas

and fortifiers; the administration of specialized formulas and fortifiers to promote the growth of

premature infants in the hospital NICU; and the risk factors for, and diagnosis and treatment of,

necrotizing enterocolitis (“NEC”) in premature infants.

       Here, many aspects of the science and medicine underlying the claims and defenses are

appropriate for presentation at an early Science Day. For example, a Science Day presentation

could include topics such as the challenges premature infants face because of their underdeveloped

or maldeveloped organ systems, generally; the diagnosis, treatment, and risk factors for NEC; and

the development of specialty preterm infant formula and fortifier products. And holding a Science

Day on these topics in the near term would best accomplish the goals of such tutorials and this

MDL.

       Science Days also present an opportunity for the sharing of helpful information between

state and federal cases. See FJC Tutorials at 9-10. In the CPAP MDL, the court indicated it would

invite the state court judge presiding over parallel litigation. In re: Philips Recalled CPAP,

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Bi-Level PAP, and Mechanical Ventilator Products Litig., MDL No. 3014 (Dkt. 683). In In re

Incretin-Based Therapies Products Liability Litigation (MDL No. 2542), the transferee judge for

the MDL and the state transferee judge for the California Judicial Council Coordination

Proceedings (JCCP) held a joint Science Day. With advances in videoconferencing platforms,

judges from across the country can now observe proceedings remotely. The sharing of information

between federal and state courts is thus an added benefit of conducting a Science Day at an early

stage of this proceeding.

       WHEREFORE, defendants respectfully request that the Court enter an order scheduling a

Science Day in or around December 2022, for the parties to present non-adversarial presentations

regarding the complex scientific issues underlying this litigation.




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Dated: October 4, 2022                        Respectfully Submitted,


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